                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                  No. 5:18-cv-00315



 ATLANTIC COAST PIPELINE, LLC,

                                 Plaintiff,

         v.

 2.25 ACRES, MORE OR LESS, IN
 JOHNSTON COUNTY, NORTH
 CAROLINA, LOCATED ON PARCEL
 IDENTIFICATION NO. 15-L-11-024-A,                          COMPLAINT IN CONDEMNATION
 DESCRIBED IN PLAT BOOK 74, PAGE
 381,                                                       15 U.S.C. § 717f(h); Fed. R. Civ. P. 71.1

         and

 VIVIAN C. FINCH, Trustee of The Vivian
 C. Finch Trust Under Declaration of Trust
 Dated February 23, 1998
 6403 Golfcrest Drive
 San Diego, CA 92119,

                                 Defendants.



                                         Nature of the Case

        1.      Plaintiff Atlantic Coast Pipeline, LLC (“Atlantic”), pursuant to its power of eminent

domain as authorized by Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), and Federal

Rule of Civil Procedure 71.1, files this action for (i) the taking of certain interests in real property;

(ii) if later requested, immediate possession of the easements described herein; and (iii) the

ascertainment and award of just compensation to the owners of interest in real property, Vivian C.




              Case 5:18-cv-00315-D Document 1 Filed 06/28/18 Page 1 of 8
Finch, Trustee of the Vivian C. Finch Trust Under Declaration of Trust dated February 23, 1998,

and any other interested parties (collectively, the “Owner”).

                                     Jurisdiction and Venue

       2.      This Court has original jurisdiction in this matter pursuant to 28 U.S.C. § 1331 and

Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), because: (a) Atlantic is the holder of a

certificate of public convenience and necessity issued by the Federal Energy Regulatory

Commission (“FERC”) for the construction of an interstate natural gas pipeline that crosses West

Virginia, Virginia, and North Carolina; (b) Atlantic, despite negotiation efforts, has been unable

to acquire by contract, or has been unable to agree with the Owner as to the compensation to be

paid for, the necessary easements to construct, operate, and maintain a pipeline for the

transportation of natural gas; and (c) the amount claimed by the Owner exceeds $3,000.

       3.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the interests in the real

property that Atlantic seeks to condemn are located within the Eastern District of North Carolina.

                                              Parties

       4.      Atlantic is a Delaware limited liability company with its principal office located at

120 Tredegar Street, Richmond, Virginia 23219. Atlantic is an interstate natural gas company as

defined by the Natural Gas Act, 15 U.S.C. § 717a(6), and, as such, is authorized to construct, own,

operate, and maintain pipelines for the transportation of natural gas in interstate commerce.

Atlantic’s transportation of natural gas in interstate commerce is subject to the jurisdiction and

approval of FERC.

       5.      The Owner has an ownership interest in that certain tract of land identified as Parcel

Identification No. 15-L-11-024-A, composed of 85.68 acres, more or less, located in Johnston




                                       2
            Case 5:18-cv-00315-D Document 1 Filed 06/28/18 Page 2 of 8
County, North Carolina and being more particularly described as in Plat Book 74, Page 381, of the

public records of said County (the “Property”). The Property is depicted in Exhibit 1.

       6.      There may be other persons who claim an interest in the property to be condemned

whose names are currently unknown to Atlantic because they could not be ascertained by a diligent

inquiry. These persons will be made parties to this action as permitted by Federal Rule of Civil

Procedure 71.1(c)(3).

                                              Facts

       7.      Atlantic is in the process of constructing an approximately 600-mile underground

pipeline and related facilities for the purpose of transporting natural gas from West Virginia to

Virginia and North Carolina (the “ACP Project”).

       8.      The ACP Project will measure approximately 42 inches in diameter in West

Virginia and Virginia, and 36 inches in diameter in North Carolina. Certain extensions of the ACP

Project will measure 20 inches in diameter from Northampton County, North Carolina to the City

of Chesapeake, Virginia and 16 inches in diameter in Brunswick County, Virginia and Greensville

County, Virginia.

       9.      Natural gas transported by the ACP Project will serve multiple public utilities and

is necessary to satisfy the growing energy needs of consumers in Virginia and North Carolina.

       10.     Atlantic filed an application for a certificate of public convenience and necessity

with FERC on September 18, 2015, FERC Docket No. CP15-554-000, in which it sought

permission to construct the ACP Project and attendant facilities. On October 13, 2017, FERC

issued a certificate of public convenience and necessity (the “FERC Certificate”) authorizing

Atlantic to construct and operate the ACP Project. A copy of the FERC Certificate is attached as

Exhibit 2.




                                        3
             Case 5:18-cv-00315-D Document 1 Filed 06/28/18 Page 3 of 8
        11.     FERC found that the ACP Project will “primarily serve natural gas demand in

Virginia and North Carolina.” See Ex. 2, at 35, ¶ 79.

        12.     FERC also found that the “public at large will benefit from increased reliability of

natural gas supplies.” See Ex. 2, at 35, ¶ 79.

        13.     As a result, the ACP Project “serves a ‘public use’” as determined by FERC. See

Ex. 2, at 34, ¶ 79.

        14.     Atlantic must begin construction of the ACP Project as soon as possible to ensure

completion within FERC’s deadline. See Ex. 2.

        15.     The FERC-approved route of the ACP Project crosses the Property. A map

depicting the route of the ACP Project is attached as Exhibit 3.

        16.     Atlantic seeks to construct a portion of the ACP Project on the Property. The ACP

Project cannot be constructed until Atlantic acquires certain permanent easements (the “Permanent

Easements”) and temporary easements (the “Temporary Easements”) (collectively the

“Easements”) on the Property. The Easements are necessary for constructing, maintaining,

operating, altering, testing, replacing, and repairing the ACP Project.

        17.     A plat depicting the size and nature of the Easements and the ACP Project’s route

across the Property is attached hereto as Exhibit 4.

        18.     The Permanent Easements to be taken on the Property include a permanent and

exclusive easement and right-of-way to construct, operate, maintain, replace, repair, remove or

abandon the ACP Project and appurtenant equipment and facilities, as well as the right to change

the location of the installed pipeline within the area of the Permanent Easement as may be

necessary or advisable.




                                         4
              Case 5:18-cv-00315-D Document 1 Filed 06/28/18 Page 4 of 8
       19.     The Temporary Easements will enable Atlantic to construct the ACP Project and

engage in restoration or clean-up activities. The Temporary Easements are requested as of the date

of authorized entry onto the Property and their use is required until all work, including restoration,

is complete. The Temporary Easements will be effective and condemned for a period not to exceed

five (5) years following Atlantic’s possession of the Easements.

       20.     Atlantic also seeks to acquire the right of ingress and egress to and from and through

the Easements; the right to transport pipe, vehicles, machinery, persons, equipment, or other

materials to and from and through the Easements, and the right of access through any existing

roads on the Property.

       21.     Atlantic also seeks the right to fell trees and clear brush or other vegetation as

necessary or convenient for the safe and efficient construction, operation, or maintenance of the

ACP Project or to maintain safe and efficient access to and from the ACP Project.

       22.     The Owner shall retain the right to use the Property in any manner that will not

interfere with the use and enjoyment of Atlantic’s rights under the Easements. Specifically, the

Owner shall not, without the prior written consent of Atlantic: (a) change the depth of cover or

otherwise undertake earthmoving or construction within the Permanent Easements; (b) place or

permit to be placed any temporary or permanent structure or obstruction of any kind, including but

not limited to buildings, swimming pools, sheds, concrete pads, mobile homes, trees, telephone

or electric poles, water or sewer lines, or similar structures, within the Permanent Easements; (c)

store or operate any heavy equipment in the Permanent Easements, except the use of typical

farming equipment; and (d) construct ponds or lakes in a manner that would flood the Permanent

Easements.




                                        5
             Case 5:18-cv-00315-D Document 1 Filed 06/28/18 Page 5 of 8
       23.     Atlantic has negotiated with the Owner and her counsel and has made several

efforts to acquire the Easements by contract. However, Atlantic and the Owner have been unable

to agree upon the compensation to be paid.

       24.     Atlantic began negotiations with the Owner in December 2015.

       25.     On December 10, 2015, an agent of Atlantic (the “First Agent”) spoke with the

Owner concerning the pipeline project and made an offer for the easement. The Owner refused to

present a counteroffer. The First Agent attempted to contact the Owner by telephone again on

May 17, 2016, but was unable to reach her.

       26.     On September 12, 2016, a second agent of Atlantic (the “Second Agent”)

telephoned the Owner to discuss the easement. The Owner disconnected the call when the Second

Agent identified himself.

       27.     In February 2017, the Second Agent spoke with Owner’s counsel by telephone and

electronic mail, attempting to set up a meeting to discuss acquisition of the easement.

       28.     On July 11, 2017, the Second Agent called Owner’s counsel to set up a meeting to

discuss acquisition of the easement. Owner’s counsel declined the invitation to meet.

       29.     Throughout the remainder of 2017, the Second Agent communicated with Owner’s

counsel by electronic mail, attempting to negotiate the acquisition of the easements without

success.

       30.     Between January and May 2018, Atlantic continued to try to negotiate with the

Owner’s counsel.

       31.     On June 6, 2018, Atlantic sent Owner’s counsel a Final Offer Letter, along with a

copy of the plat attached hereto as Exhibit 4.




                                        6
             Case 5:18-cv-00315-D Document 1 Filed 06/28/18 Page 6 of 8
       32.     On June 15, 2018, Atlantic sent the Owner a Final Offer Letter, along with a copy

of the plat attached hereto as Exhibit 4.

       33.     Atlantic, through counsel, has continued to negotiate with the Owner, through

counsel, regarding the easement acquisition and the final offer letter and its accompanying plat,

but the parties have been unable to reach an agreement.

       34.     To date, Atlantic and the Owners have been unable to agree on the compensation

to be paid. The difference between Atlantic’s last offer and the Owner’s last demand are

substantially and materially different. Thus, despite these negotiations, Atlantic has been unable

to acquire the Easements by contract.

       35.     Pursuant to the authority granted to Atlantic by Congress in Section 7(h) of the

Natural Gas Act, 15 U.S.C. § 717f(h), Atlantic now seeks to take by eminent domain the Easements

over the Property as depicted herein and in Exhibit 4.

       WHEREFORE, Atlantic respectfully requests that this Court:

       A.      Enter an Order of Judgment of Taking by Eminent Domain as to the Easements as

described herein;

       B.      If later requested, grant Atlantic immediate possession of the Easements in the form

of a preliminary injunction prior to the determination of just compensation upon deposit with the

Court of a sum of money representing the value of such Easements as determined by Atlantic’s

appraisal or land rights valuation analysis;

       C.      Ascertain and award just compensation to the Owner for the taking of the

Permanent Easements;

       D.      Ascertain and award just compensation to the Owner for the taking of the

Temporary Easements; and




                                        7
             Case 5:18-cv-00315-D Document 1 Filed 06/28/18 Page 7 of 8
E.     Grant such other relief as may be just and proper.

This the 28th day of June, 2018.


                                     /s/ Henry L. Kitchin, Jr.
                                     Henry L. Kitchin, Jr.
                                     N.C. State Bar No. 23226
                                     MCGUIREWOODS LLP
                                     Post Office Box 599 (28402)
                                     Wilmington, North Carolina 28401
                                     Telephone: (910) 254-3800
                                     Facsimile: (910) 254-3900
                                     Email:       hkitchin@mcguirewoods.com

                                     Dhamian A. Blue
                                     N.C. State Bar No. 31405
                                     Blue LLP
                                     205 Fayetteville Street
                                     Raleigh, North Carolina 27601
                                     Telephone: (919) 833-1931
                                     Facsimile: (919) 833-8009
                                     Email:      dab@bluellp.com

                                     Of Counsel:

                                     John D. Wilburn
                                     Email: jwilburn@mcguirewoods.com
                                     Richard D. Holzheimer, Jr.
                                     Email: rholzheimer@mcguirewoods.com
                                     McGuireWoods LLP
                                     1750 Tysons Boulevard, Suite 1800
                                     Tysons, Virginia 22102
                                     Telephone:    (703) 712-5000
                                     Facsimile:    (703) 712-5050

                                     Counsel for Atlantic Coast Pipeline, LLC




                                8
     Case 5:18-cv-00315-D Document 1 Filed 06/28/18 Page 8 of 8
